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                     6   Attorneys for Defendant
                         Chick-fil-A, Inc.
                     7
                     8
                                                  UNITED STATES DISTRICT COURT
                     9
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                10
                11
                         LINDSEY STEWART,                          Case No. '21CV587 BEN WVG
                12
                                                 Plaintiff,
                13
                                           vs.                      DEFENDANT CHICK-FIL-A,
                14                                                  INC.’S STATEMENT OF
                         CHICK-FIL-A, INC,                          FINANCIAL INTEREST
                15
                                                 Defendant.
                16
                                                                   [Local Rule 40.2]
                17
                18
                                                                   Action Filed:   December 18, 2020
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MORGAN, LEWIS &
 BOCKIUS LLP                                                              STATEMENT OF FINANCIAL INTEREST
 ATTORNEYS AT LAW
   COSTA MESA
                         DB2/ 40634859.1
                    Case 3:21-cv-00587-CAB-DEB Document 3 Filed 04/05/21 PageID.44 Page 2 of 3



                     1   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                     2   SOUTHERN DISTRICT OF CALIFORNIA AND PLAINTIFF:
                     3            Pursuant to Southern District of California Local Civil Rule 40.2, Defendant
                     4   Chick-fil-A, Inc. (“CFA, Inc.”), by and through its undersigned counsel, certifies
                     5   that the following listed party (or parties) may have a pecuniary interest in the
                     6   outcome of this case. These representations are made to enable the Court to
                     7   evaluate possible disqualification or recusal:
                     8            (1)      Plaintiff Lindsey Stewart;
                     9            (2)      Defendant Chick-fil-A, Inc.
                10                Defendant will advise this Court in the event they learn of any additional
                11       parties that must be identified pursuant to Civil Rule 40.2.
                12
                13       Dated: April 5, 2021                                MORGAN, LEWIS & BOCKIUS LLP
                14
                15                                                           By /s/ Barbara J. Miller
                                                                                Barbara J. Miller
                16                                                              Bart Quintans
                                                                                Attorneys for Defendant
                17                                                              Chick-fil-A, Inc.
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                         2           STATEMENT OF FINANCIAL INTEREST
   COSTA MESA
                         DB2/ 40634859.1
                    Case 3:21-cv-00587-CAB-DEB Document 3 Filed 04/05/21 PageID.45 Page 3 of 3



                     1                                    PROOF OF SERVICE
                     2                           Lindsey Stewart v. Chick-fil-A, Inc., et al.
                     3
                               I am a resident of the State of California and employed in Orange County,
                     4   California. I am over the age of eighteen years and not a party to the within entitled
                         action. My business address is 600 Anton Boulevard, Suite 1800, Costa Mesa,
                     5   California 92626.
                     6            On April 5, 2021, I served a copy of the within document(s):
                     7                     DEFENDANT CHICK-FIL-A, INC.’S STATEMENT OF
                                                     FINANCIAL INTEREST
                     8
                     9
                              BY U.S. MAIL: by placing the document(s) listed above in a sealed
                10              envelope with postage thereon fully prepaid, in the United States mail at
                                Costa Mesa, California addressed as set forth below.
                11
                12                                          Lindsey Stewart
                13                                          P.O. Box 230170
                                                           Encinitas, CA 92024
                14              I am readily familiar with the firm's practice of collection and processing
                15       correspondence for mailing. Under that practice it would be deposited with the
                         U.S. Postal Service on that same day with postage thereon fully prepaid in the
                16       ordinary course of business. I am aware that on motion of the party served, service
                         is presumed invalid if postal cancellation date or postage meter date is more than
                17       one day after date of deposit for mailing in affidavit.

                18                Executed on April 5, 2021, at Costa Mesa, California.

                19              [ X ] FEDERAL: I declare that I am employed in the office of a member
                         of the Bar of this Court at whose direction this service was made.
                20
                21
                22                                                               Cindy J. Hachiya
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                      3          STATEMENT OF FINANCIAL INTEREST
   COSTA MESA
                         DB2/ 40634859.1
